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                IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                          WESTERN DIVISION

UNITED STATES OF AMERICA


VS.                            4:15CR00008-2 BSM


ANDREA MANSFIELD

      ORDER FOR DESIGNATION OF PSYCHOLOGICAL FACILITY
              AND PSYCHOLOGICAL EVALUATION

      At the May 9, 2016 Revocation Hearing, the Court granted defense counsel’s

oral motion requesting that Defendant undergo a psychological examination pursuant

to 18 U.S.C. §§ 4241 and 4242.

      The United States Marshal for the Eastern District of Arkansas is directed to

immediately notify the undersigned United States Magistrate Judge and Chief United

States District Judge Brian S. Miller upon receipt of Defendant’s facility designation

for the psychological evaluation. Pursuant to 18 U.S.C. § 3161(h)(1)(A), this time

period is excludable under the Speedy Trial Act.

      IT IS SO ORDERED this 9th day of May, 2016.



                                        ___________________________________
                                        UNITED STATES MAGISTRATE JUDGE
